        Case 9:19-cr-00029-DLC Document 49 Filed 10/25/19 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                              CR 19–29–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 RENE MYRON GARDNER,

                      Defendant.

      United States Magistrate Judge Kathleen L. DeSoto entered Findings and

Recommendation in this matter on October 9, 2019. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge DeSoto recommended this Court accept Rene Myron Gardner’s guilty

plea after Gardner appeared before her pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of conspiracy to distribute

                                           1
        Case 9:19-cr-00029-DLC Document 49 Filed 10/25/19 Page 2 of 2



50 or more grams of actual methamphetamine in violation of 21 U.S.C. § 846, as

set forth in Count I of the Indictment. Defendant further admits to the forfeiture

allegation in the Indictment. In exchange for Defendant’s plea, the United States

has agreed to dismiss Counts II through IV of the Indictment.

      I find no clear error in Judge DeSoto’s Findings and Recommendation (Doc.

35), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Rene Myron Gardner’s motion to

change plea (Doc. 28) is GRANTED and Rene Myron Gardner is adjudged guilty

as charged in Count I of the Indictment.

      DATED this 25th day of October, 2019.




                                           2
